Case: 4:95-cV-01180-CDP Doc. #: 93 Filed: 08/29/00 Page: 1 of 6 Page|D #: 18

UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF MISSOURI
EASTERN DIVISION FlL‘ED

AUG 2 9 2000

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WILLIAM T. GILBERT, III,
Plaintiff,
v. No. 4:95CV1180 CDP

MONSANTO COMPANY,

Defendant.
MEMDRANDUM AND ORDER

This matter is before the Court on Monsanto’s motion for
protective order and for sanctions. On June 20, 2000, the Eighth
Circuit Court of Appeals remanded this case for an award of
attorneys’ fees to Gilbert. Gilbert accordingly filed a motion for
attorneys' fees on July 18, 2000. Monsanto objected to Gilbert’s
fee request, arguing that the claimed hours were grossly excessive
and unreasonable and that the claimed rates were inflated. Gilbert
then served Monsanto with a notice of deposition and request for
production of documents on July 28, 2000, and filed his reply brief
in support of his fee request on July 31, 2000.

Gilbert seeks to discover, by Rule 30(b)(6) deposition of
Monsanto, the following information about Monsanto's lawyers and
legal assistants: l) their names and business addresses; 2) the
date of each attorney's graduation from law school; 3) the date of
each attorney's admission to the Missouri bar; 4) the date of each
attorney's admission to this Court; 5) area of specialty, if any;

6) a description of each attorney's experience in cases involving

Case: 4:95-cV-01180-CDP Doc. #: 93 Filed: 08/29/00 Page: 2 of 6 Page|D #: 19

employment discrimination; 7) the attorney's (or paralegal's)
present regular hourly rate; 8) the attorney's (or paralegal's)
regular hourly rate as of January l, 1997 and 1998; 9) the
attorney's (or paralegal's) hourly rate for services in this
matter; 10) the total amount of hours each attorney and paralegal
spent on this matter; 11) the total amount billed for the time
expended on this matter, the date of the last bill, the last
inclusive date of the last bill and the custodian of such bills;
and 12) a description of expenses charged to Monsanto in this
matter. Gilbert also requested that Monsanto produce copies of all
fee statements submitted by its lawyers in connection with this
case.

Monsanto now moves to quash the deposition notice and request
for production of documents on the following grounds: l) discovery
in this case is closed and Gilbert did not seek leave of Court to
conduct discovery; 2) discovery is not necessary because Gilbert
has already filed his fee request; 3) the requested discovery is
irrelevant under Eighth Circuit caselaw; and 4) the request for
production of documents is not in compliance with Rule 30(b)(5) of
the Federal Rules of Civil Procedure. Monsanto also moves for
sanctions against Gilbert for requesting discovery.

Having carefully reviewed the parties' submissions, I will
deny the motion to quash in large part, but will grant some parts

of it. To the extent Monsanto objects to any discovery on the

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Case: 4:95-cV-01180-CDP Doc. #: 93 Filed: 08/29/00 Page: 3 of 6 Page|D #: 20

ground that discovery is closed, I will overrule that objection and
grant Gilbert leave to conduct discovery in accordance with the
parameters set forth below.

Contrary to Monsanto’s arguments, I do find that most of the
requested information is relevant to Gilbert’s fee request.
Monsanto has accused Gilbert’s attorneys of expending unreasonable
amounts of time and billing at unreasonably high rates, so I
believe that Gilbert is entitled to discover the amount of time
spent and rates charged by Monsanto’s lawyers to respond to these
objections. This information is also relevant for the Court’s
consideration of reasonableness. For example, Monsanto has said
that certain charges are not normally charged to clients in the
private sector. Gilbert is entitled to obtain the records to see
if Monsanto’s counsel made similar charges to its client here.
Similarly, where Monsanto claims there was overstaffing or too much
time spent on a particular motion or matter, viewing the amount of
time Monsanto’s attorneys billed for the same types of activities
is relevant to the arguments.

This comparison is not precluded by the Eighth Circuit’s
recent decision in Burks v. Siemens Energy & Automation¢ Inc., 215
F.3d 880 (8th Cir. 2000). In §§;L§, the Eighth Circuit stated that
the trial court should not simply compare a prevailing plaintiff’s
fees with the defendant’s fees to determine whether the plaintiff’s

fee award is appropriate. Id. at 884. Burks does not suggest,

Case: 4:95-cV-01180-CDP Doc. #: 93 Filed: 08/29/00 Page: 4 of 6 Page|D #: 21

however, that a defendant’s fee information cannot be reviewed by
the trial court as one relevant factor in its determination of the
reasonableness of a prevailing plaintiff’s fee. I have frequently
found such review to be very helpful when there are claims of
inefficiency, overstaffing, or excessive hourly rates, as there are
here, and I have routinely ordered the type of production sought by
Gilbert here.

I do not believe that Gilbert is entitled to descriptions of
Monsanto’s attorneys' past experience in employment cases or their
specialties, so I will grant the motion to quash to that extent.
1 also believe that most of the requested information can be
obtained from the fee statements without a deposition. Therefore,
1 will grant the motion to quash the deposition, but will order
Monsanto to turn over the requested fee statements, which are not
privileged unless they contain descriptions of legal services that
reveal confidential communications. See In re Grand Jurv
Proceedings, 841 F.2d 230, 233 (8th Cir. 1988).l The fee statements
should enable Gilbert to determine billing rates for 1997 and 1998,
the amount of hours spent on this case and most of the other
discoverable information. To the extent that Gilbert seeks

information about the attorneys and paralegals that cannot be

 

1This order does not preclude Monsanto from protecting
privileged communications through appropriate means. Monsanto is
cautioned, however, that generic descriptions of legal services
without any reference to underlying confidential communications are
not protected from disclosure by the attorney-client privilege.

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Case: 4:95-cV-01180-CDP Doc. #: 93 Filed: 08/29/00 Page: 5 of 6 Page|D #: 22

obtained from the fee statements (such as their graduation and
admission dates, and when their hourly rates changed), I will order
Monsanto to provide the requested information in written form,
verified in the same manner as an interrogatory answer, in lieu of
producing a Rule 30(b)(6) witness for deposition. Monsanto shall
produce all information required by this order no later than
Segtember 29, 2000. No additional discoverv shall be permitted
without leave of Court.

Gilbert shall submit any supplemental brief in support of his
motion for attorneys' fees not later than October 20, 2000.
Monsanto shall file any supplemental brief in opposition of

Gilbert’s fee application by not later than November 3 2000. go

 

further briefing of this issue shall be permitted without leave of
Mrt_-

Accordingly,

IT IS HEREBY ORDERED that defendant’s motion for protective
order [#89-1] is granted in part and denied in part as set forth

above.

IT IS FURTHER ORDERED that defendant’s motion for sanctions

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CATHERINE D. PERRY
UNITED STATES DISTRICT UDGE

[#89-2] is denied.

Dated this 29th day of August, 2000.

-5-

Case: 4:95-cV-01180-CDP Doc. #: 93 Filed: 08/29/00 Page: 6 of 6 Page|D #: 23

UNITED STATES DISTRICT COURT -- EASTERN MISSOURI
INTERNAL RECORD KEEPING

AN ORDER, JUDGMENT OR ENDORSEMENT WAS SCANNED, FAXED AND/OR MAILED TO THE
FOLLOWING INDIVIDUALS ON 08/29/00 by lwilderm
4:950v1180 Gilbert vs Monsanto Company

29:621 Job Discrimination (Age)

Ellen Cruickshank - 2906 Fax: 314-552-7140
Kenneth Heineman - 3362 Fax: 314-552-7052
David HOWard - 3433 FaX: 314-454-1911
Allen Press - 30074 Fax: 314-862-1606
William Weidle - 6951 Fax: 314-821-2461

SGANNED & FAXED BY:

AUG 2 9 2000
C. D. D'.

